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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

EVA KOPADDY, as Personal Representative )
of the Estate of RONALD GIVEN, deceased, )
                                         )
                        Plaintiff,       )
                                         )
v.                                       )              Case No. CIV-20-1280-G
                                         )
POTTAWATOMIE COUNTY PUBLIC               )
SAFETY CENTER, et al.                    )
                                         )
                        Defendant.       )

              DEFENDANTS DUGGAN’S AND WILLIAMS’ MOTION
                   TO DISMISS AND BRIEF IN SUPPORT

        COMES NOW Defendants Duggan and Williams (hereinafter “Defendants”) and

hereby move the Court to dismiss all of Plaintiff’s claims against them in Plaintiff’s

Amended Complaint [Doc. 18]. This Motion is filed pursuant to Fed. R. Civ. P. 12(b)(6)

as Plaintiff’s Complaint fails to state a claim upon which relief can be granted as to these

Defendants, as they are entitled to qualified immunity given the allegations in the

Complaint. The following brief is submitted in support.

   I.      BOTH WILLIAMS AND DUGGAN ARE ENTITLED TO QUALIFIED
           IMMUNITY

        Plaintiff’s only claim against Defendants Williams and Duggan is a federal claim

under Section 1983 for alleged denial of medical care, i.e. deliberate indifference to

serious medical or mental health needs. [See Amended Complaint, Doc. 18, ¶¶ 40-49].

The other claims are directed to events that occurred at the jail and Defendants in that

context, citing duties attendant to the jail and to inmates, etc. Defendants Williams and
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Duggan are Shawnee Police Department officers. Plaintiff reiterates her claim of denial

of medical care against “Defendants” globally in paragraphs 63-67, [Doc. 18], but in any

event, Plaintiff’s one claim against these moving Defendants is deliberate indifference to

serious medical or mental health needs, a civil rights Section 1983 claim.

       In civil rights actions seeking damages against governmental officials, “courts

recognize the affirmative defense of qualified immunity, which protects ‘all but the

plainly incompetent or those who knowingly violate the law.’” Gross v. Pirtle, 245 F.3d

1151, 1155 (10th Cir. 2001)(quoting Malley v. Briggs, 475 U.S. 335, 341 (1986)).

Qualified immunity protects public officials from individual liability in Section 1983

claims and is “an entitlement to not stand trial or face the other burdens of litigation.”

Saucier v. Katz, 533 U.S. 194, 200 (2001) (quoting Mitchell v. Forsyth, 472 U.S. 511,

526 (1985)). Qualified immunity is more than a defense to liability: it is immunity from

suit that is effectively lost if a case is erroneously permitted to go to trial. Schwartz v.

Booker, 702 F.3d 573, 579 (10th Cir. 2012).

       It has long been the law that once a defendant asserts a qualified immunity defense

in a dispositive motion, the responsibility shifts to the plaintiff to “meet a ‘heavy two-part

burden.’” Case v. West Las Vegas Indep. Sch. Dist., 473 F.3d 1323 (10th Cir. 2007).

"[T]o avoid judgment for the defendant based on qualified immunity, the plaintiff must

show that the defendant's actions violated a specific statutory or constitutional right, and

that the constitutional or statutory rights the defendant allegedly violated were clearly

established at the time of the conduct at issue." Toevs v. Reid, 646 F. 3d 752, 755 (10th

Cir. 2011) (emphasis added). Wilson v. Falk, 877 F.3d 1204, 1209 (10th Cir. 2017) states:

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    ‘If, and only if, the plaintiff meets this two-part test does a defendant then bear
    the traditional burden of the movant for summary judgment—showing that there
    are no genuine issues of material fact and that he or she is entitled to judgment as
    a matter of law.’

(emphasis added)(quoting Clark v. Edmunds, 513 F.3d 1219, 1222 (10th Cir. 2008)).

       Officers are protected in “close cases” by the doctrine of qualified immunity,

which serves to protect law enforcement officers from the chilling threat of liability.

Swain v. Spinney, 117 F.3d 1, 10 (1st Cir. 1997). Generally, there must be a Supreme

Court or Tenth Circuit decision on point, or a clearly established weight of authority from

other courts for the law to be clearly established. Medina v. City and County of Denver,

960 F.2d 1493, 1498 (10th Cir. 1992).

       An official sued under § 1983 is entitled to qualified immunity unless it is shown

that the official violated a statutory or constitutional right that was “clearly established.”

Plumhoff v. Rickard, 134 S. Ct. 2012, 2023 (2014). A Defendant cannot be said to have

violated a clearly established right unless the right’s contours were sufficiently definite

that any reasonable officer in the defendant’s shoes would have understood that he was

violating it. Id. “In other words, ‘existing precedent must have placed the statutory or

constitutional question beyond debate” and “[the Supreme Court] has repeatedly told

courts…not to define clearly established law at a high level of generality since doing so

avoid the crucial question whether the official acted reasonably in the particular

circumstances that he or she faced.” Id. (emphasis added). “Officials are not liable for

bad guesses in gray areas; they are liable for transgressing bright lines.”          Crow v.

Montgomery, 403 F.3d at 602. Gomes v. Wood, 451 F.3d 1122, 1134 (10th Cir. 2006)


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states, “The law is clearly established if a reasonable official in the defendant’s

circumstances would understand that her conduct violated the plaintiff’s constitutional

right.”     See also Perry v. Durborow, 892 F.3d 1116, 1123 (10th Cir. 2018) (“Perry must

identify a case where an official acting under similar circumstances as [Defendant] was

held to have violated the Constitution.”)

          In the present case, Plaintiff cannot meet either prong of the qualified immunity

analysis. Even before discovery, the Court can address the second inquiry only in this

matter. The Court may choose which of the two inquiries in the qualified immunity

analysis to assess first.   Wilson states, “When determining whether qualified immunity

applies, we may choose which of the two prongs of the qualified immunity analysis

should be addressed first.” (quoting The Estate of Lockett by & through Lockett v. Fallin,

841 F.3d 1098, 1107 (10th Cir. 2016)).

          Recently, the United States Supreme Court has emphasized that the “clearly

established law” inquiry is not meant to be an exercise in generalities or principles.

Instead, the analysis must be disciplined to the particular facts at issue, from the vantage

point of the officer whose actions are under review. Mullenix v. Luna, 136 S.Ct. 305, 308

(2015) states “We have repeatedly told courts … not to define clearly established law at a

high level of generality.” (citing Ashcroft v. al-Kidd, 563 U.S. 731, 742). In Mullenix, a

police officer used deadly force and shot at a fleeing felon from an overpass as the

suspect approached. The district court denied qualified immunity because a police officer

may not use deadly force when there is a fleeing felon who does not pose a sufficient

threat of harm to the officer or others. See Mullenix, 136 S.Ct. at 308-09. The Mullenix

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Court was quick to note that this was not the appropriate inquiry. Rather, the correct

question was “whether it was clearly established that he Fourth Amendment prohibited

the officer’s conduct in the ‘’situation [she] confronted’: whether to shoot a disturbed

felon, set on avoiding capture through vehicular flight, when persons in the immediate

area are at risk from that flight.’ (citing Haugen v. Brosseau, 543 U.S. 194, 199-2000

(2004)(emphasis added)). The Supreme Court emphasized “[t]he dispositive question is

‘whether the violative nature of particular conduct is clearly established.’” Mullenix, at

307 (quoting Al-Kidd, 563 U.S. at 742)(emphasis added).

         Plaintiff must show similar circumstances to those allegedly facing Defendants

Duggan and Williams with respect to their interactions with Mr. Givens to prove the right

was clearly established. In White v. Pauly, 137 S.Ct. 548, 552 (2017), the Supreme Court

held that the Tenth Circuit erred when it "failed to identify a case where an officer acting

under similar circumstances as [the defendant officer] was held to have violated the

Fourth Amendment." Id. White states, “Today, it is again necessary to reiterate the

longstanding principle that “clearly established law” should not be defined “at a high

level of generality…the clearly established law must be ‘particularized’ to the facts of the

case.”    Id.   at 552.   (citing, inter alia, Al-Kidd, 563 U.S. at 742 and Anderson v.

Creighton, 483 U.S. 635, 640 (1987)

         The Tenth Circuit has recently confirmed that district courts must use this more

specific and less generic approach to determining qualified immunity. Aldaba v. Pickens,

844 F.3d 870, 872 (10th Cir. 2016); See also Garcia v. Escalante, 2017 WL 443610, *4

(10th Cir. Feb. 2, 2017); Youbyoung Park v. Gaitan, 2017 WL 782280, *9 (10th Cir.

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Mar. 1, 2017); Moore v. Roberts, 2017 WL 1906953, *6 (10th Cir. April 17, 2017). After

the Supreme Court vacated the 10th Circuit’s judgment, the Tenth Circuit recently in

Pauly v. White, 874 F.3d 1197, 1223 (10th Cir. 2017)(Pauly III), discussing the disparity

in facts between its case and others, stated, ‘Because there is no case “close enough on

point to make the unlawfulness of [Officer White's] actions apparent,’… we conclude

that Officer White is entitled to qualified immunity. (internal citations omitted)(quoting

from Pauly I, 814 F.3d at 1091).        The Tenth Circuit again recently reaffirmed the

specificity element of the “clearly established” prong examination. Estate of Ceballos v.

Husk, 919 F.3d 1204, 1215-15 (10th Cir. 2019).

       Here, there is not a qualifying case of sufficient similarly to the particular situation

that unfolded at St. Anthony’s Hospital in Shawnee and en route to the Pottawatomie

County Safety Center for the purpose of the clearly established prong. Plaintiff’s claims

against Duggan and Williams are not that they arrested Mr. Givens without probable

cause, i.e. false arrest. Her claims, on behalf of the Estate, are not that officers used

excessive force under the Fourteenth Amendment to make the arrest.           Rather, Plaintiff

essentially alleges that they, as officers, made a constitutionally valid arrest but, in

deciding to do so, ipso facto denied medical care to a person with mental health needs, by

way of the officers following the typical process for effectuating an arrest and then

transferring custody of the arrestee to the proper detention center after the arrest.

       The law is certainly not clearly established that law enforcement officers cannot

decide upon and effectuate an arrest under similar conditions. Plaintiff’s claims in this



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respect sound in a negligence-like realm of retroactively impugning the discretion1 of a

law enforcement officer for going forward with making an arrest, upon probable cause,

rather than electing to forego the arrest for some other cause or consideration than what

are part of the probable cause calculus for the crime at issue. This is new territory. The

law was not clearly established in this respect on January 8, 2019 when Duggan was

arresting and transporting Mr. Givens.

       Even taking Plaintiff’s testimony as accepted for the purpose of this Motion, there

was no clearly established law that would have informed Jake Duggan or Korbin

Williams, upon witnessing Mr. Given’s actions of assaulting an officer that night, that

arresting him and following the usual process to then book him into jail would violate

Mr. Given’s constitutional rights. “Officials are not liable for bad guesses in gray areas;

they are liable for transgressing bright lines.” Crow v. Montgomery, 403 F.3d at 602.

There was no bright line that would have been apparent to any reasonable officer in this

particular scenario. Plaintiff cannot carry his burden to show a violation of a clearly

established constitutional right by Defendants Williams and Duggan in the particular

situation they both confronted, as is required.



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   It is well-established civil rights claims are to be prevented from sagging into
negligence theories, as Section 1983 is not to become a font of tort law, Paul v. Davis,
424 U.S. 693, 701 (1976); Daniels v. Williams, 747 U.S. 327, 332 (1986). Verdecia v.
Adams, 327 F.3d 1171 (10th Cir. 2003) states, “The implication of this statement is that
[the defendant] could be held liable if a jury concludes his conclusion or response was
unreasonable. However, finding of unreasonableness is merely a finding of negligence
and not deliberate indifference. Deliberate indifference requires more than a finding of
negligence.” Deliberate indifference is a higher standard than negligence or even gross
negligence. Berry v. City of Muskogee, 900 F.2d 1489, 1494 (10th Cir. 1990).
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   II.      THE POLICIES OF QUALIFIED IMMUNITY FAVOR EARLY
            RESOLUTION AT THIS POINT IN THE LITIGATION

         It is well-established that qualified immunity invokes special protection from the law.

Qualified immunity is an entitlement not to stand trial or face the burdens of litigation. It is

immunity from suit rather than a mere defense to liability. Mitchell v. Forsyth, 472 U.S. 511,

527, 105 S. Ct. 2806, 86 L. Ed. 2d 411 (1985). Qualified immunity is effectively lost if the

case is erroneously permitted to go to trial. Hannula v. City of Lakewood, 907 F.2d 129, 130

(10th Cir. 1990). Speaking to the qualified immunity framework, Medina v. Crum, 252 F.3d

1124, 1128 (10th Cir. 2001) states, “This two-step analysis ‘is designed to ‘spare a defendant

not only unwarranted liability, but unwarranted demands customarily imposed upon

those defending a long drawn-out lawsuit.’’” (quoting Wilson v. Layne, 526 U.S. at 609, 119

S.Ct. 1692, which quotes Siegert v. Gilley, 500 U.S. 226, 232, 111 S.Ct. 1789

(1991)(emphasis added). “Consequently, courts should resolve the ‘purely legal question’…

raised by a qualified immunity defense ‘at the earliest possible stage in litigation,’” Medina

counsels. (citing Siegert, supra, and Albright v. Rodriguez, 51 F.3d 1531, 1534 (10th Cir.

1995)). Addressing these Defendants’ qualified immunity arguments at this stage, though

early, is proper and warranted here.

         Indeed, most courts stay discovery when this defense is interposed. See Martin v.

City of Albuquerque, 219 F.Supp.3d 1081, 1085 (D. N.M. 2015) (“Martin ‘concedes that

the Tenth Circuit has directed us in most civil rights cases to stay discovery once a defendant

invokes qualified immunity as a defense.’”) Whether asserted before or after discovery,

courts are mindful of the law’s protection for litigants with qualified immunity defenses.


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Castaneda v. City of Albuquerque, CIV 14-0103, 2015 WL 13651109 at *4 (D. N.M. Dec.

23, 2015) provides:

    That Defendants did not move for a stay before the close of discovery does not
    mean they ‘lost the right to be protected from the burdens of litigation....”
    Herrera, 2012 WL 6846393, at *7. ‘[T]he policy behind qualified immunity is to
    protect government employees from suit where they were acting within the
    constitutional bounds of their official authority.’…(citing Harlow, 457 U.S. at 807)
    (noting that qualified immunity reflects ‘the need to protect officials who are
    required to exercise their discretion and the related public interest in encouraging the
    vigorous exercise of official authority’). “As the Tenth Circuit has noted, ‘if
    qualified immunity is to mean anything, it must mean that public employees who are
    just doing their jobs are generally immune from suit.’…Whether Defendants sought
    such protection ‘earlier or later in the case does not lessen the fact that the law
    provides that protection when they seek it…Without a stay, the parties will need
    to prepare for trial, spending time and energy that may be unnecessary if
    Defendants' summary judgment motion is granted.

(emphasis added) (some internal citations omitted).               Defendants are entitled to a

determination on this legal question before having to proceed through the entire gamut of

pretrial filings and events, which are costly in time and resources. Mitchell v. Forsyth, 472

U.S. 511, 526 (1985) states, “Harlow thus recognized an entitlement not to stand trial or

face the other burdens of litigation, conditioned on the resolution of the essentially legal

question whether the conduct of which the plaintiff complains violated clearly established

law.” (emphasis added)(citing Harlow v. Fitzgerald, 457 U.S. 800, 102 S.Ct. 2727 (1982)).

This rationale applies well here and militates for the Court to decide the qualified immunity

issue- specifically clearly established law-- at this juncture.

       Here, Defendants anticipate various advancing arguments for both prongs of the

qualified immunity test at the summary judgment stage after discovery. However, at this

stage, Defendants rely on the second, clearly established aspect, supra.           Even taking


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Plaintiff’s allegations in the Amended Complaint as true, the alleged actions of Defendants,

as law enforcement officers, do not violate clearly established law as of January 8, 2019.

Hence, Plaintiff fails to carry her burden on the governing two-part test, and Defendants are

entitled to qualified immunity.

       WHEREFORE, foregoing premises considered, Defendants Williams and Duggan

are entitled to Qualified Immunity and thus dismissal from this action. Accordingly,

Defendants respectfully requests that the Court dismiss all of Plaintiff’s claims against

them in this matter.

                                                  Respectfully submitted,

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                                                  and individual capacities




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                             CERTIFICATE OF SERVICE


        I hereby certify that on this 30th day of March, 2021, I electronically transmitted
the attached document to the Clerk of Court using the ECF System for filing. Based on
the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing
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